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13 Attorneys for Defendant Google LLC

14
                              UNITED STATES DISTRICT COURT
15
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16
                                               Case No. 3:09-CV-05718-RS
17   NETLIST, INC.,
                                               ADMINISTRATIVE MOTION TO
18         Plaintiff,                          CONSIDER WHETHER ANOTHER
19                                             PARTY’S MATERIAL SHOULD BE
                  v.
                                               SEALED
20   GOOGLE LLC,
                                               Judge: Hon. Richard Seeborg
21         Defendant.

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                                                                  Case No. 3:09-CV-05718-RS
                             ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                                             MATERIAL SHOULD BE SEALED
 1     I.   INTRODUCTION

 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), Defendant Google LLC (“Google”)

 3 respectfully submits this Administrative Motion to Consider Whether Another Party’s Material Should

 4 be Sealed pertaining to the following information indicated below, which contain, reflect, or

 5 summarize information designated by Plaintiff Netlist, Inc. (“Netlist”) as confidential under the terms

 6 of the Stipulated Protective Order (Dkt. 47):

 7    Document                    Portions to be Filed Under Seal               Party Claiming
                                                                                Confidentiality
 8    Google’s Reply in           Portions Highlighted in Yellow at:            Netlist
 9    Support of Motion to
      Stay                        5:14-16, 5:18-19
10

11          Google respectfully requests that the above-identified information provisionally remain under

12 seal. Pursuant to Civil Local Rule 79-5(f), Netlist bears the responsibility to establish that the above-

13 identified information is sealable.

14

15 DATED: June 21, 2022                          QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
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                      -2-                  Case No. 3:09-CV-05718-RS
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
                                     MATERIAL SHOULD BE SEALED
